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                 GURULE DECLARATION
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  7.3 Staff Hiring and Training                                  Monthly and
                                                                                     Compliant
                                                                 Follow-Up
  7.4 Transfer of Residents                                      Monthly             Compliant
  7.5 Post Orders                                                Monthly             Compliant


                                      Overall Observations
          There were 23 Adults, 23 minors for a total of 46 residents at the time of this inspection.
          The staff was welcoming and professional and committed to the facility’s mission.
          The facility was clean and well maintained.
          Sean Allain, Health Services Administrator is transferring to Headquarters in Washington, DC.
           Julie Clement, Assistant Health Services Administrator will be Acting Health Services
           Administrator starting November 6, 2015.
          Staff members are well trained and informed.



                              Findings from Current Review

  I.       Area of Noncompliance or Other Issues
  There were no issues identified during this inspection.




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             Status of Previously Identified Issues or Concerns

  I.        Area(s) of Noncompliance or Other Issues
  The following area(s) of noncompliance or other issues were identified during the previous
  inspection:
  2.7 Sexual Abuse and Assault and Intervention
           Training on the facility's Sexual Abuse and Assault Prevention and Intervention Program
            shall be included in initial training for new employees, volunteers, and contract personnel
            and be included in annual refresher training thereafter.
            Finding: The facility failed to have their volunteers complete Sexual Abuse and Assault and
            Intervention Awareness training during their orientation or annually as required by FRS.
            (Observed 9/15/15)
            Mitigation: Facility to have their volunteers complete Sexual Abuse and Assault and
            Intervention Awareness training during their orientation and provide annual refresher training as
            required by FRS. All training shall be documented in the volunteer’s personnel file.
            Follow-up: Resolved-The facility’s trainer has incorporated a new Sexual Abuse and Assault
            Prevention and Intervention Program acknowledgement form for all the staff, volunteers, and
            contractors to sign. The facility has already started providing training to the volunteers and
            contractors during their orientation and annual training. (Observed 10/26/15)


  II.       Issue to Address
  4.3 Medical
           The health care program and the medical facilities shall be under the direction of a health
            services administrator (HSA) and shall be accredited and maintain compliance with the
            standards of the Joint Commission on the Accreditation of Health Care Organizations
            (JCAHO).
            Finding: The medical facility is not accredited or in compliance with the standards of JCAHO.
            Facility provided an order terminating the Joint Commission accreditation requirement in IHSC
            facilities dated July 12, 2012. (Observed 9/15/15)
            Mitigation: None recommended.
            Follow-up: Resolved-The medical facility is not accredited or in compliance with the standards
            of JCAHO. Facility provided the order terminating the Joint Commission accreditation
            requirement in IHSC facilities date July 12, 2012. (Observed 10/26/15). No further action
            required.




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  III. Recommendations
  The following recommendations were provided during the previous inspection to improve service
  delivery:

  2.8 Staff-Resident Communications
           Where required, residents have regular access to translation services and/or are provided
            information in a language that they understand.
            Observation: The following forms signed by residents were not provided in Spanish or other
            native languages: Food Service Agreement to Work; Maintenance Agreement to Work;
            Housekeeping Agreement to Work; Consent for Treatment; Right to Know; and Grievance
            Procedure. (Observed 9/15/15)
            Recommendation: Translate forms into Spanish or any other native languages or document that
            language line was used to translate form prior to resident signing.
            Follow-up: Resolved-The facility has translated into Spanish forms to be signed by residents for
            the following: Food Service Agreement to Work; Maintenance Agreement to Work;
            Housekeeping Agreement to Work; Consent for Treatment; Right to Know; Parental Notification
            Form and Grievance Procedures; New Admission Orientation Acknowledgement Form; and
            Voluntary Work Program Agreement Form. There is a box on each form for the signature of the
            interpreter used attesting to the information translated. (Observed 10/26/15)

  5.5 Recreation
           Every facility will provide indoor and outdoor recreation, the size of which shall include
            consideration of state requirements for similar facilities.
            Observation: On the date of the onsite inspection, the indoor recreation was not available to
            residents due to a roof leak that began a few weeks prior. Maintenance staff was notified as soon
            as the leak occurred, but had not yet repaired it. (Observed 9/15/15)
            Recommendation: Expedite the maintenance repair with Berks County Facilities Department.
            Follow-up: Resolved-The roof leak in the indoor recreation area has been repaired. Inspector
            observed that the sky light repairs have been completed. (Observed 10/26/15)

  7.3 Training
            Observation: Facility policy requires staff escort for all residents when visiting the medical unit.
            Inspectors observed an adult male and juvenile male enter the medical unit without escort. Staff
            in the area did not intervene. Facility Director immediately addressed this issue with staff
            member. (Observed 9/15/15)
            Recommendation: Post reminders for both staff and residents regarding policy.
            Follow-up: Resolved-Observed reminders in Spanish and English posted on the door to the
            medical unit that staff must escort all residents visiting the medical unit. (Observed 10/26/15)
  Cc:                          Chief, JFRMU
            Laurie Mankin, Program Manager, Danya International, Inc.


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                 GURULE DECLARATION
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 Date:   August 31, 2015/Resubmitted September 10, 2015

 To:                           National Family Coordinator
         JFRMU

 From: Elfreida Curtis-Crawley, Compliance Reviewer
       Danya International

 Re:     Compliance Inspection

 From August 10, 2015 to August 14, 2015, I conducted a targeted review at the Karnes County
 Residential Center. The following activities were conducted. No areas of noncompliance or deficiency
 were identified.

                            Standard                                        Type of Review
 1.1 Emergency Plans
 1.2 Environmental Health and Safety                         Baseline
 1.3 Transportation by Land
 1.4 Housekeeping and Voluntary Work Program                 Baseline
 2.1 Admissions and Release                                  Baseline
 2.2 Contraband
 2.3 Funds and Personal Property
 2.4 Key and Lock Control
 2.5 Resident Census
 2.6 Searches of Residents
 2.7 Sexual Abuse and Assault Prevention and Intervention    Baseline
 2.8 Staff-Resident Communications                           Baseline
 2.9 Tool Control
 2.10 Use of Physical Control Measures and Restraints
 3.1 Discipline and Behavior Management
 4.1 Food Services                                           Baseline
 4.2 Hunger Strikes
 4.3 Medical Care                                            Baseline
 4.4 Personal Hygiene
 4.5 Suicide Prevention and Intervention
 4.6 Terminal Illness, Advance Directives and Death
 5.1 Correspondence and Other Mail
 5.2 Educational Policy                                      Baseline
 5.3 Escorted Trips for Non-Medical Emergencies
 5.4 Marriage Requests
 5.5 Recreation
 5.6 Religious Practices
 5.7 Telephone Access
 5.8 Visitation
 61. Grievance System                                        Baseline
 6.2 Law Libraries and Legal Materials
 6.3 Legal Rights Group Presentations
 7.1 Residential Files
 7.2 News Media Interviews and Tours
 7.3 Staff Hiring and Training                               Baseline
 7.4 Transfer of Residents
 7.5 Post Orders
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                                       Overall Observations

       The staff was welcoming and professional and committed to the facility’s mission of
        protecting women and their children.
       The facility was clean and well maintained.
       Staff communication lines were open and interdepartmental meetings were held during
        the inspection period.
       The medical department does not have an electronic filing system, but are working
        towards that means.
       There appears to be an excellent rapport between ICE and the GEO staff.
       The class schedule mimicked that of the outside community, which should make for a
        better transition into their receiving communities for children upon their release.

                            JFRMU Concerns and Recommendations

 Use of isolation rooms: The Facility Administrator, Rose Thompson, said the facility does not
 use isolation rooms. They have rooms where residents who were exposed to TB or any other
 possible contagious medical issue are kept separate, but the doors are never locked and the
 residents are allowed to go in and out of the dayroom at any time. Residents with possible TB
 exposure are asked to notify the medical staff before they enter the dayroom with their children
 so that the rooms can be sanitized once the resident vacates. The rooms are immediately
 sanitized after use by a resident with possible TB exposure or other contagious medical
 issue. There were no posters in the area stating that residents are free to go to the dayroom, but
 Ms. Thompson said that the residents are fully aware of this.
 Recommendation: Hang posters in medical rooms used for those residents exposed to TB or
 with other possible contagious medical issues informing residents that they are able to visit the
 dayroom.

 Lack of child centered materials in the housing units: There were no child centered
 decorations in the housing units. There were colorful decorations/murals in the classrooms and
 intake area.
 Recommendation: Develop plan for approval to increase presence of child/family friendly
 materials, such as painting suites and coordinating special arts projects for the children to
 provide more decorations in the housing units.

 Lack of cups in the recreation area:
 The residents are issued permanent cups during intake/orientation for their use. Instructions
 regarding identifying, cleaning and storing these cups was not provided during intake and
 instructions are not in the handbook. The Medical unit had enough paper and plastic cups for use
 by the residents. The recreation area did not have paper or plastic cups available. The children
 were refilling disposable water bottles that had their names written on them. The Gym Teacher
 said that they always have cups in the recreation area, but had run out that day.
 Recommendation: If permanent cups are distributed to each resident during intake, the process
 for identifying, cleaning, and storing must be documented and shared with each resident at
 intake. Facility should inventory cups on a weekly basis to ensure adequate supply is ordered
 prior to inventory depletion.
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 Residents are required to return to housing unit at 7:00 pm: The resident cohort that was
 exposed to Varicella was provided recreation at 7:00pm for one hour. Other residents are asked
 to return to their housing units to avoid contact. The cohort was separated from the general
 population and was required to remain in their housing for the entire day, limiting freedom of
 movement to one hour per day (7pm-8pm). The general population returned to their housing
 units when the cohort was using the recreation area/yard.
 Recommendation: Develop a plan for approval to provide the cohort freedom of movement
 from 8am to 8pm while maintaining the health of the rest of the residents.

 Concerns that the facility is not fully staffed: There were six vacant positions--four food
 service workers, one health care worker (LSW), and one security supervisor. Potential
 employees were identified and will start work upon completion of their security clearances. The
 security supervisor is also awaiting approval from the GEO regional authority. The facility
 administrator stated that existing staff covered these tasks while the position was vacant, and
 resident services were not impacted by these staff vacancies


                                       Recommendations
 All areas observed appear to be in compliance with the Family Residential Standards (FRS).
 However, the following recommendations were shared during the daily debriefings and are
 summarized below:

 1.2 Environment Health and Safety
 Observation: After reviewing the daily inspection for the period between 7/25/15-8/9/15, it was
 noted that one of the main computers had a broken microphone. This was listed numerous times
 on the Activity Area inspection report without notation that the part was ordered.
 Recommendation: Once a maintenance request has been logged, a notation listing the
 maintenance request number as well as the status should be notated on the daily Activity Area
 Inspection report to reflect that the issue was addressed.

 4.3 Medical
 Observation: The facility is using paper files to document resident’s medical information.
 Recommendation: IHSC COR and Field Office COR explore the implementation of an
 electronic health record system that will track resident medical information, calendar medical
 appointments, and track upcoming needs.




 cc:                      , JFRMU Chief
        Laurie Mankin, Danya Program Manager
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                 GURULE DECLARATION
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                                      Overall Observations
          Total population on the 1st day (January 4th, 2016) of this inspection: 1,311
               o   Count of School Age Children Enrolled in School: 449
               o   Average Length of Stay at time of Inspection: 10.6 days
          The facility was clean and well maintained.
          Residents appeared to be in good spirits.


                          Findings from Current Inspection

  I.       Areas of Noncompliance
  There were no new areas of noncompliance identified in the current inspection; however,
  noncompliant items still outstanding are noted below:

  1.1 Emergency Plans
          Each facility will have in place contingency plans to quickly and effectively respond to any
           emergency situations that arise and to minimize their severity.
          An evacuation plan will be in place in the event of a fire or other major emergency, and the
           plan will be locally approved and updated at least annually.
           Finding: Some facility emergency plans have components that are more applicable to a
           correctional setting and are not appropriate for this facility. For example, there is a reference to
           an armory; however, there is no armory onsite. There is no plan that identifies a location or
           process for evacuating residents in the event of an emergency. (Observed 9/22/15)
           Mitigation: Review emergency plans and remove/modify components not appropriate for this
           setting. Expand evacuation plan to include (Recommended 9/22/15):
               o   MOU’s with local municipalities or private businesses regarding transportation of
                   residents;
               o   Plan for transporting children, to include acquisition of car seats and other needed
                   equipment;
               o   Designated location where all residents and staff are to be transported to and from,
                   including MOU with designated location, if needed;
               o   Food and water supply and transportation logistics; and
               o   Other items, as appropriate.
           Follow-up (12/2/15)—Partially Resolved: The following was observed in regard to this issue:
               o Correctional language such the “armory” and “count” has been removed from all
                  Emergency Plans.
               o   The facility has yet to get MOU’s with a transportation service to transport residents in


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                    the event of an emergency. The facility currently has a contract with Transcor to transport
                    140 residents. This issue is not resolved.
                o   The facility has car seats to transport children.
                o   The facility incorporated into their Emergency Plans information regarding food and
                    water supply and transportation logistics in the event of an emergency.
            Follow-up (1/6/16)—Partially Resolved: The facility has reported that they are in the
            process of reviewing two proposals from Metropolitan Shuttle and Star Shuttle to
            transport residents in event of an emergency; both companies are located in San Antonio,
            Texas. Once review process is completed, STFRC will need to enter into a Memorandum
            of Understanding (MOU) with the contractor(s) selected.

  1.4 Housekeeping and Voluntary Work Program
           Eligible adult residents will have opportunities to work and earn money while in residence,
            subject to the number of work opportunities available and the constraints of safety,
            security, and good order.
            Finding: Mr. Delgado and Chief Ruiz confirmed that there are no residents participating in the
            Voluntary Work Program. Forty-four (44) were approved by ICE but have not received medical
            approval. (Observed 9/22/15)
            Mitigation: Review policy to determine what approval is needed from medical staff.
            Incorporate these screenings into the overall plan for triaging medical appointments and services.
            (Recommended 9/22/15)
            Follow-up:
                o   (12/2/15)—Not Resolved: Facility staff have not had the opportunity to address. Will
                    review at next inspection.
                o   (1/4/16)—Resolved: The facility continues to have a voluntary work program, but no
                    residents are participating as the average length of stay is approximately 10 days. We will
                    continue to monitor monthly.


  II.       Areas of Compliance with Issues Identified
  1.2 Environmental Health and Safety
           High facility standards of cleanliness and sanitation, safe work practices, and control of
            hazardous substances and equipment are employed at the facility, thereby protecting
            residents, staff, volunteers, and contractors from injury and illness.
            (k) All toys and recreational equipment remaining in medical clinic area shall be disinfected
            daily.
            Finding: I reviewed the Daily Toy Sanitation Log, and it was apparent that daily toy cleaning
            was either not being completed or not being logged. Documentation was very sporadic.
            (Observed 1/5/16)


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         Mitigation: Ensure that staff assigned to medical understands the importance of disinfecting the
         toys daily and documenting all daily cleanings. (Recommended 1/5/16)

  2.1 Admissions and Release
        When required, residents have regular access to translation services and/or are provided
         information in a language that they understand.
         Finding: The facility utilizes a logbook during intake to document when the language line is used
         during the intake process. Review of both the log and the list of the resident’s primary and second
         language (dated 1/04/16) does not show consistent use or consistent documentation of use of the
         language line. Two residents have Arabic listed as both their primary and secondary language and
         there is no corresponding entry in the logbook documenting use of the language line. One resident
         has Arabic listed as the primary and English listed as the secondary, and there is an entry in the
         log book noting use of the language line. The third resident has Mam listed as the primary
         language and Spanish listed as the secondary language, and there is an entry in the logbook
         noting the language line was used. (Observed 1/5/16)
         Mitigation: Ensure that staff assigned to intake are aware of when to use and document the use
         of the language line. For those residents where the primary and secondary language is not English
         or Spanish and the language line is not used, develop and implement a process document why.
         (Recommended 1/5/16)
        Residents are admitted to or released from a facility in a secure and orderly fashion.
         Finding: There was a large increase in admissions since 12/25/15. Most residents had completed
         the intake process within 12 hours or less. However, on 12/28/15, the facility received 56 new
         intakes and 24 of the 56 exceeded the 12 hour processing time frame. (Observed on 1/4/16)
         Mitigation: Ensure that facility intake staff communicates with the medical unit when intake
         spikes. Advanced notice on intake surges should provide medical staff with enough time to
         allocate the appropriate medical staffing to intake.


  III. Recommendations
  Please see subject matter expert recommendations for monitored care and education attached.




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        Status of Previously Identified Noncompliant Issues and
                            Other Concerns

  I.        Status of Previously Identified Noncompliant Issues or Other
            Concerns
  4.3 Medical
           The health care program and the medical facilities shall under the direction of a health
            services administrator (HSA) and shall be accredited and maintain compliance with the
            standards of the Joint Commission the Accreditation of Health Care Organizations
            (JCAHO).
            Finding: The medical facility at South Texas Residential Center is not accredited or in
            compliance with the standards of JCAHO. (Observed 12/1/15)
            Mitigation: None recommeded. (Recommended 12/1/15)
            Follow-up: Resolved— The medical facility is not accredited or in compliance with the
            standards of JCAHO. A letter terminating the Joint Commission accreditation requirement dated
            July 12, 2012 from the ICE Health Service Corps was provided to Danya. No further action
            required. (Observed 1/04/16)


  II.       Status of Previously Identified Recommendations
  Tracking/Data Management
           Observation(s): Staff does a tremendous amount for manual logging and tracking. The coding on
            the resident’s IDs is only scanned for the lunchtime census. Data is in different systems and not
            able to be integrated. (Observed 9/22/15)
            Recommendation(s): Determine if the resident IDs can be used when residents go to class,
            medical, and other activities. This will help with tracking and identifying truancy or missed
            medical appointments immediately so RSs can intervene. It also registers how long a resident
            waits for medical services. Data would be very helpful to identify both successes and areas of
            improvement. Also include reporting capabilities in the assessment.
            Conduct an implementation feasibility assessment with possible pilot testing within 30 days of
            receipt of this report and submit to ICE, JFRMU and Inspector. (Recommended 9/22/15)
            Follow-up:
                o (9/22/15)—Not Implemented: Scanning used for recreation physical education, meals,
                   and medical. [correction from last inspection]
                o   (12/3/15)—Not Implemented: The facility has yet to identify other uses for using the


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                 scanning process. Data reports have not yet been reviewed and will be observed at the
                 next inspection.
             o   (1/6/16)—Partially Implemented: Facility is using scanning process to monitor the time
                 it takes a resident from check in for sick-call until when they have been seen by medical
                 staff. This information will provide a snapshot of the wait time it takes for residents to be
                 seen during sick call. A report for This report contains residents name, date, time resident
                 checks in, and time resident checks out. Staff were unable to run a report for 1/7/16, but
                 when asked, the were unable to run a report for earlier timeframes.
                 Recommendation(s): Provide ability to run reports for selected dates or timeframes.

  Lighting
        Observation(s): Adults do not have a light source available after lights out. (Observed 9/22/15)
         Recommendation(s): Provide task lighting desk lamps for adults to use after lights out.
         (Recommended 9/22/15)
         Follow-up:
             o (9/22/15)—Not Implemented: CCA sent proposal to ICE for approval.
             o   (12/1/15)—Not Implemented: The facility has purchased lights, but the lights have not
                 been installed. The facility is waiting for ICE approval to install.
             o   (1/6/16) – Not Implemented: The facility has purchased lights; however, ICE has some
                 safety concerns. The lighting project is currently under review by ICE.




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                           Annual Education Subject Matter Expert Inspection

         In addition to our monthly inspection, our education subject matter expert, Rosemarie Franchi,
  conducted an extensive review of the education and monitored care services, Ms. Franchi:
     Observed the monitored care facility and practices;
     Discussed the curricula model used by the facility with the principal and teachers;
     Interviewed staff and observed classrooms; and
     Reviewed the assessment tools and processes.
  Monitored Care: The monitored care staff meet all Texas Department of Family and Protective Services
  minimum standards and has a Temporary Shelter Care License with a maximum capacity of 48. Staff are
  welcoming to both children and families and ensure all children transitioning into the setting feel
  welcomed and safe. There has never been an instance where a parent could not be accommodated.
  Materials are very limited for the numbers of children who visit the monitored care site and many are not
  age appropriate. Very few of the materials reflect culture of the children. Several of the toys had very
  small pieces and pose a choking hazard for younger children. There were insufficient quantities of paper,
  paints, crayons, markers and other materials. Only one of four Video Leap Frog kits was operational.
  Children had no place to hang their winter coats - only six coat hooks were available and children placed
  their coats on chairs or the floor. Teachers’ belongings are stored where children have easy access as there
  is no available personal storage. Shelving units for storing toys were too large for children to be able to
  access by themselves and pose a safety risk for children because they are heavy and could potential fall
  over causing injury.
  The education SME was told by the Principal and Guidance Counselor that they were not allowed to hang
  anything from the suspended ceilings as it posed a fire risk and was against state regulations. However, in
  the monitored care setting, several articles were found hanging from the ceiling.
  Although the setting never exceeded teacher/child ratios several young children required 1-1 attention due
  to separation anxiety. This caused a backlog of families waiting to drop off children because many forms
  had to be completed by monitored care staff before the child could be dropped off, particularly if it was
  the family’s first visit.
  Recommendation(s) for Improvement:
     Provide additional age appropriate toys and materials. Obtain staff input when ordering.
     Provide a locked storage cabinet for to store materials and teacher belongings. A filing cabinet should
      also be purchased so that teachers are able to file facility paperwork.
     Provide an additional child size table and chairs and place the small climbing apparatus in the room
      next door for toddlers since it is not appropriate for older children to use.
     When large numbers of residents enter the facility and families have appointments, additional staffing
      should be provided.
     Provide copies of forms and other paperwork in housing units so that parents can complete it prior to
      arrival. This would lessen the wait time for families.



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                                     Inspection: South Texas Family Residential Center
                                                                    January 4-6, 2016

       Realign daily attendance forms to match the software program - change the order of fields to ensure
        efficient data entry.
       Ensure that all fire prevention practices are uniformly applied.
  Education: Ms. Franchi also conducted an extensive review of the education services provided. Ms.
  Franchi:
       Assessed the curricula delivered;
       Interviewed staff and conducted classroom observations; and
       Reviewed the initial assessment tools and process.
  Ms. Franchi determined that the educational services provided at the South Texas Residential Center
  exceed the requirements of the Family Residential Standard. The principal has instituted a team teaching
  model across all grade levels. This ensures appropriate teacher-child ratios are consistently maintained
  and instruction is always provided by state certified staff.
  Teacher turnover is minimal allowing staff to develop a strong understanding of the curricula and ensures
  fidelity to instruction. Teachers have paid planning time and share best practices and teaching strategies
  during regular professional development days
  The principal and teaching staff have drafted a handbook that outlines the STRC educational mission,
  vision, and other information that can be shared with LEA's and other key stakeholders helping them gain
  a better understanding of the services provided.
  Instruction in the Core Subjects exceeds state and local requirements of 45 minutes - instruction is 60
  minutes per Core Subject. Teachers have a wealth of materials and access to technology. Each teacher is
  allocated a monthly budget in order to purchase additional supplies and resources to support the
  curriculum.
  Recommendation(s) for Improvement:
       Provide an additional copier for teachers on site in the educational module-teachers now leave the
        classrooms and travel to another modular unit to make copies.
       Investigate use of restroom facilities within the existing educational modular space. Teachers now
        must leave the modular unit and travel to the Administrative offices.
       Strategize how the library could be better utilized by each grade level. Brainstorm ways to have a
        stronger collaboration with the library staff to better align with classroom curricula and ensure regular
        use of the library space.

       Develop a "memory book" that a child can take when leaving the facility. This packet could contain
        simple activities for the child that help to maintain lessons learned and ensure a smoother transition
        into their next school setting.
  cc:                         , Chief, JFRMU
            Laurie Mankin, Program Manager, Danya International, Inc.




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                 GURULE DECLARATION
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                                  #:6708
                   U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT
                      ENFORCEMENT AND REMOVAL OPERATIONS
                          STANDARD OPERATING PROCEDURES


               Legal Access and Legal Visitation Standard Operating Procedures for ICE
                                      Family Residential Centers

              Directive Number:
              Issue Date: 10/30/2015
              Superseded: None.
              Federal Enterprise Architecture Number:

 1.    Purpose/Background. These Standard Operating Procedures establish minimum legal
       access and legal visitation standards applicable to all Immigration and Customs
       Enforcement (ICE) Family Residential Centers (FRC) that are active and operational as of
       the above effective date.

 2.    Policy. ICE will promote access and visitation for residents by legal representatives as set
       forth in these standard operationg procedures. In the event of an emergency that threatens
       the safety or security of FRC residents and/or staff, the facility administrator may
       temporarily suspend these procedures, in whole or in part. Any violation of the legal
       access and visitation rules by a visitor may result in corrective action, including suspension
       of access to the facility. Any criminal violations may lead to criminal arrest and
       prosecution. ICE will review these procedures on an annual basis or more frequently if
       operationally required.

 3.    Definitions. The following definitions apply for purposes of this SOP only.
       1) Attorney. Any person who is eligible to practice law in, and is a member in good
          standing of the bar, of the highest court of any State, possession, territory, or
          Commonwealth of the United States, or of the District of Columbia, and is not under
          any order suspending, enjoining, restraining, disbarring, or otherwise restricting
          him/her in the practice of law. 8 C.F.R. § 1.2.

       2) Interpreter. A person who provides an oral interpretation or written translation, from
          one language and converts to another language while retaining the same meaning.

       3) Legal Assistant. An individual (other than an interpreter) who, working under the
          direction and supervision of an attorney or legal Representative, assists with group
          presentations and in representing individual residents. Legal assistants may interview
          residents, assist residents in completing forms, and deliver papers to residents without
          the Attorney or Legal Representative being present.

       4) Independent Medical Expert. An individual who is licensed or otherwise authorized
          by a state to provide medical or mental health care services, including but not limited to
          physicians, registered professional nurses, and licensed social workers. Such
          individuals are not permitted under this SOP to provide medical or mental health care
          services to residents, but may be permitted to evaluate individual residents for purposes
          of preparing expert reports.
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 DHS Dialects-Officer Script in Spanish
 1. Where do you normally shop for clothing and food in your home country?
    En tu país, ¿dónde compras la ropa y la comida normalmente?


 2. Describe the area where you and your family live in your home country.
    Describe la zona de tu país donde vives tú y tu familia.


 3. Tell me about the school or education your children had in your home country.
    Cuéntame algo sobre la escuela a donde han ido tus hijos o sobre la educación
    que han ellos en tu país.



 Control Questions:

 1. You seem to understand Spanish. Is there another language you speak more
    often with your family or children when in your home country?

    Parece que entiendes el español. Cuando estás en tu país, ¿hablas con más
    frecuencia en otro idioma con tu familia o con tus hijos?


 2. Are you more comfortable speaking this languge? ?
    ¿Te sientes más a gusto hablando este idioma ?
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                 GURULE DECLARATION
                             EXHIBIT 7
                                  Juvenile and Family Residential Management Unit
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                                     Indigenous Language Identification Process Flow
                                  #:6722
                                                               Updated November 9, 2015



                                          Individual is
                                         presented for
                                           processing




            Staff is aware that                                      Staff believes
            Spanish is not the                                   Spanish might be the
           individual’s primary                                   individual’s primary
                 language                                               language



                                                                    Staff will begin
            Staff will play the                                       asking the
               Indigenous                                            Indigenous
            Language Slides                                        Language Script
                                                                 Evaluation questions



           Processing will take
               place in the
          indigenous language                             No         Staff believes
                identified                                       Spanish might be the
                                                                  individual’s primary
                                                                        language



                                                                     Yes


                                                                   Staff will ask the
                                                                   control question




                                                                                    Individual answers
                                                    Individual answers              “NO” to the control
                                                   “YES” to the control
                                                                                    question (indicating
                                                   question (indicating
                                                                                   there is no language
                                                     he or she is more
                                                                                    other than Spanish
                                                  comfortable speaking
                                                   in a language other               he or she is more
                                                      than Spanish)                     comfortable
                                                                                         speaking)




                                                                                   Processing will take
                                                                                   place in the Spanish
                                                                                        language
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                 GURULE DECLARATION
                             EXHIBIT 9
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                                            Individual Declarants (obtained 5-12-16)
                                                                            #:6738 Detained Beyond 20 Days

Exh.            Name                Location   Comments
No.
 21 Victor Rxxxxx-Xxxxxxx            BFRC      Castro. Expedited Removal (ER), Mandatory Detention, negative Credible Fear (CF). USCIS's neg CF finding,
                                               affirmed by Immigration Judge. Request for review (RFR) denied. Final order, but for stay of removal
                                               granted by Third Circuit, could be removed.
23   Yeslin Lxxxx-Xxxxxxx            BFRC      Castro. Expedited Removal (ER), Mandatory Detention, negative Credible Fear (CF). USCIS' neg CF finding
                                               affirmed by Immigration Judge. Request for review (RFR) denied. Final order, but for stay of removal
                                               granted by Third Circuit, could be removed.
28   Celina Sxxxxxx-Xxxx             BFRC      Castro. Expedited Removal (ER), Mandatory Detention, negative Credible Fear (CF). USCIS' neg CF affirmed
                                               by Immigration Judge. Request for Reviews (RFRs) denied. Final order, but for stay of removal granted by
                                               Third Circuit, could be removed.
29   Cesia Vxxxxxxxxx-Xxxx           BFRC      Castro. Expedited Removal (ER), Mandatory Detention, negative Credible Fear (CF). USCIS' neg CF affirmed
                                               by Immigration Judge. Reqiest for Review (RFR) denied. Final order, but for stay of removal granted by
                                               Third Circuit, could be removed.
31   Kelly Gxxxxxxxx-Xxxxx           BFRC      Castro. Expedited Removal (ER), Mandatory Detention, negative Credible Fear (CF). USCIS' neg CF affirmed
                                               by Immigration Judge. Requests for Review (RFRs) denied. 3d RFR pending with USCIS. Final order, but for
                                               stay of removal granted by Third Circuit, could be removed.
32   Maria Mxxxxxxx-Xxxxxxx          BFRC      Castro. Expedited Removal (ER), Mandatory Detention, negative Credible Fear (CF). USCIS' neg CF affirmed
                                               by Immigration Judge. Requests for Review (RFRs) denied. Final order, but for stay of removal granted by
                                               Third Circuit, could be removed.
39   Karen Zxxxxx-Xxxxxxx            BFRC      Castro. Expedited Removal (ER), Mandatory Detention, negative Credible Fear (CF). USCIS' neg CF affirmed
                                               by Immigration Judge. Requests for Review (RFR) denied. Final order, but for stay of removal granted by
                                               Third Circuit, could be removed.
40   Allison Mxxxxx-Xxxxx            BFRC      Castro. Expedited Removal (ER), Mandatory Detention, negative Credible Fear (CF). USCIS' neg CF affirmed
                                               by Immigration Judge. Requests for Review (RFR) denied. Final order, but for stay of removal granted by
                                               Third Circuit, could be removed.
 3   Steven Axxxxxx-Xxxxxx           BFRC      Castro. Expedited Removal (ER), Mandatory Detention, negative Credible Fear (CF). USCIS' neg CF affirmed
                                               by Immigration Judge. Final order, but for stay of removal granted by Third Circuit, could be removed.


 3   Ludwin Cxxxxx-Xxxxx             BFRC      Castro. Expedited Removal (ER), Mandatory Detention, negative Credible Fear (CF). USCIS' negative CF
                                               affirmed by Immigration Judge. Request for Review (RFR) denied. Final order, but for stay of removal
                                               granted by Third Circuit, could be removed.
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                                           Individual Declarants (obtained 5-12-16)
                                                                           #:6739 Detained Beyond 20 Days

Exh.          Name                 Location   Comments
No.
 3 Estafany Mxxxxx-Xxxxx            BFRC      Castro. Expedited Removal (ER), Mandatory Detention, negative Credible Fear (CF). USCIS' neg CF affirmed
                                              by Immigration Judge. Final order, but for stay of removal granted by Third Circuit, could be removed.

 3   Ashley Mxxxxx-Xxxxx            BFRC      Castro. Expedited Removal (ER), Mandatory Detention, negative Credible Fear (CF). USCIS' neg CF affirmed
                                              by Immigration Judge. Refused to be interviewed for TD. Request for Review (RFR) denied. Parole request
                                              denied. Final order, but for stay of removal granted by Third Circuit, could be removed.

 3   Joshua Lxxxx-Xxxxxxxx          BFRC      Castro. Expedited Removal (ER), Mandatory Detention, negative Credible Fear (CF). USCIS' neg CF affirmed
                                              by Immigration Judge. Final order, but for stay of removal granted by Third Circuit, could be removed.

 3   Jefferson Axxxxxx-Xxxxxxx      BFRC      Castro. Expedited Removal (ER), Mandatory Detention, negative Credible Fear (CF). USCIS' neg CF affirmed
                                              by Immigration Judge. Final order, but for stay of removal granted by Third Circuit, could be removed.

54   Fany Mxxxxxxxxx-Xxxxxxxxx      BFRC      Expedited Removal - Mandatory Detention, negative Credible Fear (CF). USCIS' neg CF affirmed by
                                              Immigration Judge. Requests for Review (RFRs) denied. TD received, and removal scheduled. Removal
                                              cancelled.

30   Isamar Sxxxxxx-Xxxxxx          BFRC      Final Removal Order detained as flight risk. Immigration Judge ordered removed, family failed to appear.
                                              ICE apprehended for removal, family filed untimely appeal; stay granted by BIA. But for the stay granted by
                                              Board of Immigration Appeals, could be removed. 05/27/16: appeal dismissed.
